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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

GEAROLD R. STINE,                     )
                                      )
      Plaintiff,                      )
                                      )
vs.                                   )                  No.     3:18-cv-2202
                                      )
HOMAN TRUCKING, LLC and IKE           )
R. ROSE, HOMAN & COMPANY, INC.,       )
and A.B.C.D. TRANSPORTATION CO., INC. )
                                      )
      Defendants.                     )

                                 NOTICE OF REMOVAL

         COMES NOW defendants Homan Trucking LLC and A.B.C.D. Transportation

Co., Inc., by and through their undersigned attorneys, and pursuant to 28 U.S.C. § 1441

and § 1446, file their Notice of Removal of the above-captioned action to the United States

District Court for the Southern District of Illinois, and for grounds thereof, respectfully

state:

         1.   The above-captioned action, now pending in the Circuit Court for the Third

Judicial Circuit, Madison County, Illinois, is a civil action brought by plaintiff Gearold R.

Stine against defendants Homan Trucking LLC, Ike R. Rose, Homan & Company, Inc.,

and A.B.C.D. Transportation Co., Inc. Plaintiff’s Complaint sounds in negligence and

alleges a claim for injuries he allegedly suffered in a motor vehicle accident that occurred

in Madison County, Illinois on or about November 16, 2016.

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       2.      Plaintiff’s original Complaint was filed on October 5, 2018, in the Circuit

Court of Madison County as Cause No. 18-L-1331. See Complaint, contained in the court

file attached hereto and marked as Exhibit A. Thereafter, plaintiff filed an Amended

Complaint and a Second Amended Complaint on November 2, 2018 and November 19,

2018 respectively. See Amended Complaint and Second Amended Complaint, contained

in the court file attached hereto and marked as Exhibit A.

       3.      The present action is a civil action of which this Court has diversity

jurisdiction pursuant to 28 U.S.C. § 1332, and the action may be removed to this Court

pursuant to the provisions of 28 U.S.C. § 1441 and 28 U.S.C. § 1446.

       4.      Plaintiff was, at the time of the commencement of said action, and ever since

has been, and still is, a resident and citizen of the State of Illinois.

       5.      All defendants were citizens of Missouri. Specifically, defendant Ike R.

Rose, at the time of the commencement of said action, and ever since has been, is a

resident and citizen of Missouri. Homan Trucking LLC is a limited liability company

organized and existing under the laws of the State of Missouri, with its chief and principal

place of business in Missouri. Homan Trucking LLC has two members (Charity Homan

and Dustin Homan), who are residents and citizens of the State of Missouri. Homan &

Company, Inc. is a corporation organized and existing under the laws of the State of

Missouri, with its chief and principal place of business in Missouri. Defendant A.B.C.D.


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Transportation Co., Inc. is a corporation organized and existing under the laws of the

State of Missouri, with its chief and principal place of business in Missouri.

       6.        Defendants reasonably believe that the damages sought by plaintiff are in

excess of Seventy-Five Thousand Dollars ($75,000.00) and, therefore, the matter and

amount in controversy in said action, exclusive of interest and costs, exceeds the sum or

value of Seventy Five Thousand Dollars ($75,000.00).

       7.        With regard to the issue of the amount in controversy, defendants direct the

Court to the following facts: (1) The Complaint reflects that plaintiff is seeking in excess

of $50,000; (2) Plaintiff alleges that he experienced “severe pain, suffering, mental anguish

and property damage;” (3) Plaintiff further alleges that he has incurred medical charges,

lost wages, continuing lost wages, a loss of normal life, continued pain and suffering,

and mental stress; and (4) Plaintiff further alleges that convalescent care may be required

in the future.

       8.        Defendant A.B.C.D. Transportation Co., Inc. was served with plaintiff’s

Complaint on November 29, 2018. Although not officially served at that time, Homan

Trucking LLC first received a copy of the Second Amended Complaint, and thus notice

of this lawsuit, on November 29, 2018.




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        9.     Therefore, defendant’s Notice of Removal is timely and in accordance with

the requirements of 28 U.S.C. § 1446(b), as defendants have filed their Notice of Removal

within thirty (30) days of service.

        10.    This matter is not an action described in 28 U.S.C. § 1445.

        11.    Venue is proper in the United States District Court for the Southern District

of Illinois.

        12.    Copies of all pleadings filed in this matter thus far in Madison County are

attached hereto as Exhibit A.

        WHEREFORE, defendants Homan Trucking LLC and A.B.C.D. Transportation

Co., Inc. respectfully request that this Honorable Court accept jurisdiction of said action

and for such further relief this Court deems just and proper.

DEFENDANTS DEMAND TRIAL BY JURY.




                                           /s/ John P. Cunningham
                                           John P. Cunningham, #6193598
                                           Denise Baker-Seal, #6255589
                                           BROWN & JAMES, P.C.
                                           Attorneys for Defendants
                                           Richland Plaza I, 525 W. Main St., Ste. 200
                                           Belleville, Illinois 62220-1547
                                           618/235-5590; 618/235-5591 (Fax)
                                           jcunningham@bjpc.com; smolla@bjpc.com
                                           dbaker-seal@bjpc.com; dowens@bjpc.com



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                               AFFIDAVIT OF SERVICE

       I, the undersigned, on the 21st day of December, 2018 electronically filed this
document with the United States District Court, Southern District of Illinois which will
send electronic notification to each of the following:

Mr. Brian M. Wendler
Ms. Angie M. Zinzilieta
Mr. Paul E.H. Rademacher
Wendler Law, P.C.
900 Hillsboro, Suite 10
Edwardsville, IL 62025
wendlerlawpc@gmail.com

       Under penalties of perjury as provided by law, I certify that the statements in this
affidavit are true.

                                          _/s/ John P. Cunningham__________________
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